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IN THE UNITED STATES DISTRICT COURT y
FOR THE WESTERN DISTRICT OF TENNESSEE .
WESTERN DIVISION OSAUG!Q PH 3'35

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CLEHK U‘S. E"ET?M COUHT
JAMES HULETT, W/D GF l?~£, k-?E€!-FPHIS
Plaintiff,
vs. No. 04-2759-MaP

JO ANNE B. BARNHART,
Commissioner of Social Security,

Defendant.

 

ORDER GRANTING MOTION FOR ATTORNEY FEES

 

Before the Court is plaintiff’s June 15, 2005, unopposed
petition for attorney fees in this matter. For good cause shownr
the motion is granted. Pursuant to the Equal Access to Justice
Act (EAJA), 28 U.S.C. §2412, attorney fees are awarded to
plaintiff's Counsel, Chris A. Cornaghie, in the amount of
S3,793.20, and, pursuant to 28 U.S.C. §1920, $150.00 from the
Judgment Fund administered by the United States Treasury shall be
paid for the filing fee. These fees and costs shall be paid
directly to plaintiff's counsel.

lt is so ORDERED this /zapzday of August, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT COURT

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:04-CV-02759 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

